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                             UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                  ______________________

UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                           No. CR 09-2962 WJ

FRANCISCO MELGAR-CABRERA,

               Defendants.

                      MEMORANDUM OPINION AND ORDER
               DENYING DEFENDANT’S MOTION TO DISMISS COUNT 4
                     OF SECOND SUPERSEDING INDICTMENT

       THIS MATTER comes before the Court upon Defendant‘s Motion to Dismiss Count 4 of

Second Superseding Indictment, filed August 14, 2015 (Doc. 368), following a hearing on the

matter. Having reviewed the parties‘ briefs and applicable law, and having considered the oral

arguments of counsel at the hearing held on August 24, 2015, the Court finds that Defendant‘s

motion is not well-taken and, accordingly, is DENIED.

                                        BACKGROUND

        In this motion, Defendant seeks dismissal pursuant to Fed.R.Crim.P. 12(b)(3)(B)(v) of

Count 4 of the Second Superseding Indictment. Count 4 alleges murder through the use of a

firearm during and in relation to a crime of violence, in violation of 18 U.S.C. §§924(j), 1111,

and 2. The relevant crime of violence Defendant is charged with here is alleged in Count 3,

Interference with Interstate Commerce by Robbery and Violence, also known as a ―Hobbs Act

Robbery,‖ in violation of 18 U.S.C. §1951(a). The request for dismissal of Count 4 is based on

two grounds: because the Hobbs Act robbery charge, §1951(a) (Count 3) underlying the §§1111

and 924(j)(1) offense alleged in Count 4 categorically fails to qualify as a crime of violence
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within the meaning of 18 U.S.C. § 924(c)(3)(A), (which Defendant refers to as the ―force

clause,‖ and also that 18 U.S.C § 924(c)(3)(B), (which Defendant refers to as the ―residual

clause‖) is unconstitutionally vague under Johnson v. United States, _ U.S. __, 135 S. Ct. 2551

(2015) (holding that the ―residual clause‖ of the Armed Career Criminal Act to be

unconstitutional because it violated due process).1

                                                      DISCUSSION

         Defendant‘s motion centers around the Hobbs Act offense §1951(a), but the inquiry

involves several related statutory provisions.

I.       Relevant Law

       18 U.S.C. §924(c)(1)(A) provides for certain penalties if a person who uses or carries a
firearm ―during and in relation to any crime of violence.‖

         Under §924(c)(3), a “crime of violence‖ is defined as an offense that is a felony and—

                 A) has as an element the use, attempted use, or threatened use of physical
         force against the person or property of another, or

                 (B) that by its nature involves a substantial risk that physical force against
         the person or property of another may be used in the course of committing the
         offense.

         Section 924(j) provides that a person who, in the course of a violation of subsection (c),

causes the death of a person through the use of a firearm, shall, if the killing is a murder as

defined under 18 U.S.C. §1111, be punished by death or by imprisonment for any term of years

or for life.

         Section 1951(b)(1) defines robbery as follows:

         The term ‗robbery‘ means the unlawful taking or obtaining of personal property
         from the person or in the presence of another, against his will, by means of actual

1
  While case law is replete with references to §924(e)(2)(B)(i) as the ―force clause‖ of the Armed Career Criminal
Act and to §924(e)(2)(B)(ii) as its ―residual clause,‖ the Court has found no case that describes the provisions of
§924(c)(1)(A) and (B) as ―force‖ and ―residual‖ clauses. Nor do those references appear for 18 U.S.C. §16(b),
which has language identical to §924(e)(2)(B).

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          or threatened force, or violence, or fear of injury, immediate or future, to his
          person or property, or property in his custody or possession, or the person or
          property of a relative or member of his family or of anyone in his company at the
          time of the taking or obtaining.2

          The Court first addresses Defendant‘s argument concerning §924(c)(3)(A), and then turns

to Defendant‘s argument regarding §924(c)(3)(B). It is the latter which involves discussion of a

recent United States Supreme Court case, Johnson v. U.S., -- U.S. --, 135 S.Ct. 2551 (2015).

II.       Hobbs Act (§1951(b)) as “Crime of Violence”

          Defendant contends that the Hobbs Act robbery under §1951(a) (Count 3) does not

qualify as a ―crime of violence‖ under the ―force‖ clause of §924(c)(3)(B) because the offense

can be committed by putting someone in fear of future injury to his person or property which

does not require the use, attempted use, or threatened use of violent physical force.

          Courts use a ―categorical approach‖ to determine whether a prior conviction is a crime of

violence, which means that in making this determination, courts look ―only to the fact that the

defendant has been convicted of crimes falling within certain categories, and not to the facts

underlying the prior convictions.‖ Taylor v. U.S., 495 U.S. 575, 600 (1990) (cited in Johnson,

135 S.Ct. at 2555-2557; see also U.S. v. Serafin, 562 F.3d 1105 (10th Cir. 2009) (possession of

unregistered weapon did not constitute a crime of violence within meaning of firearm statute);

see also Descamps v. U.S., 133 S.Ct. 2276, 2283 (2013) (courts may not use modified categorical

approach in determining whether prior offense was violent felony under ACCA when predicate

crime has a single, indivisible set of elements, and finding that defendant's prior burglary

conviction under California law was not for a violent felony within the meaning of ACCA).

Under the categorical approach, a prior offense can only qualify as a ―crime of violence‖ if all of the

criminal conduct covered by a statute—―including the most innocent conduct‖ matches or is


2
    §1951(b) defines ―robbery‖ while §1951(a) is the charging provision in the statute and is listed on the indictment.

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narrower than the ―crime of violence‖ definition. United States v. Torres-Miguel, 701 F.3d 165, 167

(4th Cir. 2012).


        Defendant argues that in utilizing this approach in this case, §1951(b) qualifies as a

―crime of violence‖ under §924‘s ―force‖ clause‖3 (that is, §924(c)(3)(A)) if the offense has

―physical force‖ as an element, which means ―violent force‖ or ―strong physical force.‖ He

contends that because a crime may result in death or serious injury without involving the use of

physical force, §1951(b) does not qualify as a crime of violence. Defendant cites to various

cases to illustrate his point. In Torres-Miguel, 701 F.3d at 167, the Fourth Circuit held addressed

whether a prior California offense of willfully threatening to commit a crime which ―will result

in death or great bodily injury to another‖ qualified as a ―crime of violence‖ under

§924(c)(3)(A). The court concluded that a crime may result in death or serious injury without

involving the use of physical force.‖ 701 F.3d at 168. In Chrzanoski v. Ashcroft, another case

relied on by Defendant, the issue before the Second Circuit was whether a prior Connecticut

conviction for third-degree assault qualified as a ―crime of violence‖ under the force clause. 327

F.3d 188, 194 (2nd Cir. 2003). The relevant statute in that case required the state to prove that

defendant had ―intentionally caused physical injury.‖ 327 F.3d at 193 (emphasis added). The

Second Circuit found that the prior assault conviction did not constitute a crime of violence

because there was a difference between causation of an injury and causation of the injury by

using physical force. The court reasoned that physical injury could be caused without the use of

force, citing numerous examples (such as someone who causes physical impairment by placing a

tranquilizer in the victim‘s drink). Id. at 195-196.



3
   The parties seem to assume that §924(c)(3)(A) and (B) contains a ―force‖ and ―residual‖ clauses, even though
references in Johnson concerned only the provisions in the ACCA, §924(e)(2)(B)(i) and (ii).

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        Defendant‘s contentions are flawed for several reasons, some of which have been noted

by the Government.

        First, Defendant gives undue emphasis to the word ―future‖ which appears in the

definition of the term ―robbery‖ in 18 U.S.C. §1951(b). Defendant argues that this word places

§1951(b)(1) outside of a ―crime of violence‖ because it has not occurred, but this twists the

language of §1951(b) which defines the means of robbery by ―means of actual or threatened

force, . . . immediate or future . . . .‖ It is clear that the word ―future‖ describes force that is

―threatened,‖ as opposed to ―actual‖ force which is ―immediate.‖ §1951(b) (emphasis added). In

other words, ―robbery‖ can be either a threat to inflict something harmful in the future, or a use

of force in the present. According to §924(c)(3)(A), a ―crime of violence‖ means “the use,

attempted use, or threatened use of physical force . . . . .‖ (emphasis added) Thus, the word

―future‖ in §1915(b) is within what is envisioned in a ―crime of violence‖ under §924(c)(3)(A).

        Second, Defendant puts a spin on the term ―physical force‖ which is contained in

§924(c)(3)(A) which is not supported by the language in the provision. Defendant claims that

―[t]he act of placing another in fear of physical injury at best ―constitutes a threat of physical

injury to another, which plainly does not require the use or threatened use of ‗violent force‘

against another‖ and that putting an individual in fear of physical injury is, at best, only a threat

of physical injury to another. Doc. 368 at 5. This argument selectively chooses only part of the

language in §1951(b)(1) and totally ignores other words in the provision such as ―actual‖ force

or violence. Further, ―physical injury‖ is neither an element in ―robbery‖ in §1951(b)(1) or a

requirement for a ―crime of violence‖ under §924(c)(3). Thus, this argument is irrelevant as well

as illogical.




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         Defendant also replaces the phrase ―physical force‖ with ―violent force.‖ The Court finds

no legal precedent for this, and thus Defendant is placing a requirement for a ―crime of violence‖

that is not there. The Court suspects that Defendant may be borrowing from the holding in

another Supreme Court case and applying it here. In Johnson v. U.S., 559 U.S. 133 (2010)

(distinct from the Johnson case that found the ACCA‘s residual clause to be unconstitutional, see

135 S.Ct. at 2551), the Supreme Court held that a defendant‘s prior battery conviction under

Florida law was not a ―violent felony‖ under the ACCA. In doing so, the court interpreted the

phrase ―physical force‖ in the ACCA‘s ―force clause,‖ §924(e)(2)(B)(i), to mean ―violent force‖

because a common-law meaning of the word ―force‖ (such as the offensive touching elements of

the battery conviction) did not fit in the context of the statutory category of a ―violent felony.‖

559 U.S. at 1271 (―Nothing in the text of §924(e)(2)(B)(i) suggests that ―force‖ in the definition

of a ―violent felony‖ should be regarded as a common-law term of art used to define the contours

of a misdemeanor.‖). Here, ―physical force‖ within the context of a ―crime of violence‖ under

§924(c)(3)(A) does not necessarily mean ―violent‖ force. Defendant‘s reliance on the Johnson

battery case is misplaced since that case involved the ACCA provision in §924(e)(2)(B)(i), and

not §924(c), and Defendant cites to no case that interprets ―physical force‖ in §924(c)(3)(A) as

―violent force.‖ 4

         Third, the cases relied on by Defendant relies for the proposition that a crime may result

in death or serious injury without involving the use of physical force, are distinguishable.

Chrzanoski, 327 F.3d 188, and Torres-Miguel, 701 F.3d 165, do not help Defendant‘s position

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  In Torres, however, the Fourth Circuit equated ―physical force‖ with ―violent force,‖ stating that in order to
constitute a predicate crime of violence justifying a sentencing enhancement under the Guidelines, ―a state offense
must constitute a use or threatened use of violent force, not simply result in physical injury or death.‖ 701 F.3d at
169 (emphasis added). Despite this finding in Torres, the Government points out that the U.S. Supreme Court has
backed away from a broad and total encompassing definition of ―physical force‖ as ―violent force‖ in all situations.
See Doc. 380 at 5. The Court agrees with this assessment and further notes that Torres does not represent the
weight of the relevant case law and is thus not sufficient to find that ―physical force‖ means ―violent force‖ in
defining a ―crime of violence‖ under §924(c)(3)(A).

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because, unlike the predicate offense in those cases which involved the causation of physical

injury, rather than the use of physical force, §1951(b) defines ―robbery‖ as including the use of

force. See §1951(b)(1) (―. . . by means of actual or threatened force, or violence. . . .‖). This

matches the definition of ―crime of violence‖ which requires as an element ―the use, attempted

use, or threatened use of physical force. . . .‖). Thus, the cases Defendant relies on can be easily

distinguished by the requirements in their predicate offenses.

        Other cases cited by Defendant offer little, again because the underlying offense had very

different elements. For example, Defendant cites to U.S. v. Perez-Vargas, 414 F.3d 1282 (10th

Cir. 2005), where the Tenth Circuit held that Colorado‘s third-degree assault statute did not

unambiguously require the use or threatened use of physical force, as required to qualify as

―crime of violence.‖ The Colorado statute prohibited knowingly or recklessly causing bodily

injury to another person or with criminal negligence causing bodily injury to another person by

means of a deadly weapon. The Tenth Circuit reasoned that there could be examples of third

degree assault that would not involve use of, or threat of, force – such as intentionally exposing

someone to hazardous chemicals or intentionally placing a barrier in front of a car causing an

accident. 414 F.3d at 1286. The predicate offense under the Colorado statute is not analogous

here because §1951(b) has as an element, the use of actual or threatened force. While a third-

degree assault can be committed under the Colorado statute without the use of force, one cannot

get convicted for robbery under §1951(b) unless force (or threat of force) is used.

        Accordingly, the Court finds that robbery under the Hobbs Act, §1951(a) with which

Defendant is charged, is a ―crime of violence‖ under §924(c)(2)(A).

III.    Effect of Johnson on §924(c)(3)(B)




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        Defendant contends that as a result of Johnson, 135 S.Ct. 2551, §924(c)(3)‘s residual

clause is unconstitutionally vague and cannot support a conviction under the statute.

A.      Legal Effect of Johnson

        In Johnson v. U.S., 135 S.Ct. 2551, the issue was whether a prior conviction for unlawful

possession of a short-barreled shotgun met the definition of a ―violent felony‖ under the Armed

Career Criminal Act (―ACCA‖), 18 U.S.C. §924(e)(2)(B). The ACCA‘s ―residual clause,‖

§924(e)(2)(B)(ii), defined ―violent felony‖ as including any felony that ―otherwise involves

conduct that presents a serious potential risk of physical injury to another.‖5 Johnson held that

imposing an increased sentence under the ACCA‘s residual clause violated due process. ―135

S.Ct. 2551.

        In Johnson, the Supreme Court acknowledged that courts apply the categorical approach

when determining whether an offense is a ―violent felony.‖ However, when that approach was

applied to the ACCA‘s residual clause, a court was required to picture the kind of conduct that

the crime involves in ―the ordinary case,‖ and to judge whether that abstraction presented a

―serious potential risk of physical injury‖ under §924(e)(2)(B). Johnson found that an ―ordinary

case‖ analysis involved too much ―judicially imagined abstraction,‖ id. at 2557, as well as

―guesswork and intuition,‖ id. at2559 (citations omitted). Based on this reasoning, Johnson held

that the ACCA residual clause was unconstitutionally vague because it left ―grave uncertainty

about how to estimate the risk posed by a crime‖ id. at 2554, and because the process by which

courts categorize prior convictions as violent felonies (that is, the ―ordinary case‖ analysis) is too

―wide-ranging‖ and ―indeterminate.‖ Id. at 2557.

B.      Whether Johnson Means that §924(c)(3)(B) is Unconstitutionally Vague

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   The ACCA‘s ―force clause‖ at §924(e)(2)(B)(i) defines a ―violent felony‖ as an element the use, attempted use, or
threatened use of physical force against the person of another.‖ The Johnson case did not really address the ―force
clause‖ – just the ―residual clause.‖

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       Defendant next focuses on what he describes as §924(c)‘s ―residual clause.‖ He argues

that §924(c)(3)(B), the statutory provision at issue here, is essentially the same as the ACCA‘s

residual clause even though they are not identical. Again, both provisions state as follows:

       §924(c)(3)(B) (which Defendant refers to as the ―residual clause‖ of §924(c)(3))
       defines ―crime of violence‖ as one that ―by its nature, involves a substantial risk
       that physical force against the person or property of another may be used in the
       course of committing the offense.‖

       Under the ACCA‘s residual clause §924(e)(2)(B)(ii), a ―violent crime‖ is an
       offense that otherwise involves conduct that presents a serious potential risk of
       physical injury to another . . .


       Defendant‘ argues that the ACCA‘s residual clause is similar enough to §924(c)(3)(B) to

find that Johnson’s holding should apply to §924(c)(3)(B). Defendant concedes there is some

difference between the two, namely a difference in focus where §924(e)(2)(B) focuses on the

risk of ―physical injury to a victim, while the focus of §16(b) (which contains language identical

to §924(c)(3)(B)) is on the risk that ―physical force‖ will be used in the course of committing the

offense. See U.S. v. Sanchez-Espinal, 762 F.3d 425, 432 (5th Cir. 2014) (while the focus of

§924(e)(2)(B) is on the risk of ―physical injury‖ to a victim and the focus of §16(b) is on the risk

that ―physical force‖ will be used the course of committing the offense, ―we have previously

looked to the ACCA in deciding whether offenses are crimes of violence under §16(b)‖).

However, Defendant does not believe this distinction has any impact on Johnson’s relevance on

the due process issue.

       Defendant contends that Johnson’s holding must apply to other analogous residual

clauses such as§16(b) and §924(c)(3)(B) that look at the ―ordinary case‖ under the categorical

approach. See, e.g., U.S. v. Avila, 770 F.3d 1100, 1107 (4th Cir. 2014) (approaching elements of

offense ―in the ordinary case‖ and relying on James v. U.S., 550 U.S. 195 (2007)); U.S. v.



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Ramos-Medina, 706 F.3d 932, 938 (9th Cir. 2012) (citing James as the source of the ordinary

case analysis required by §16(b)).6 Defendant relies on case law that discusses 18 U.S.C. §16(b)

which contains language identical to §924(c)(3)(B) in defining a ―crime of violence‖ as ―any

other offense that is a felony and that, by its nature, involves a substantial risk that physical force

against the person or property of another may be used in the course of committing the offense.‖

See, e.g., U.S. v. Keelan, 786 F.3d 865, 871 n.7 (11th Cir. 2015) (describing the ACCA‘s residual

clause as ―analogous‖ to §16(b)); United States v. Sanchez–Garcia, 501 F.3d 1208 (10th Cir.

2007) (unauthorized use of a motor vehicle not a ―violent felony‖ under 18 U.S.C. § 16(b),

which ―closely resembles ACCA's residual clause‖). Defendant also cites to cases that compare

ACCA‘s residual clause with §924(c)(3)(B), but the reasoning from those cases does not apply

here because the analysis was based on predicate offenses requiring a risk that a defendant‘s

actions would result in serious physical harm to others. See, e.g., U.S. v. Ayala, 601 F.3d 256,

267 (4th Cir. 2010) (looking to §924(e) to find that conspiracy is a crime of violence because

when conspirators have formed a partnership in crime to achieve a violent objective, ―they have

substantially increased the risk that their actions will result in serious physical harm to others‖).

The relevant statute in the instant case, §924(c)(3)(B), fixes on the risk of the use of force rather

than the broader risk of injury that results.

         The Government believes that Defendant‘s reliance on Johnson is misplaced first,

because the two provisions are not as analogous as Defendant argues and second, because

Johnson did not turn solely on the use of the ―ordinary case‖ analysis, but rather on its particular

use within the context of the ACCA‘s provision. The Government argues that Defendant glosses

6
   Johnson overruled James, because James required courts to picture the kind of conduct that the crime involves in
―the ordinary case‖ and to judge whether that abstraction presented a serious potential risk of physical injury‖ when
determining whether an offense was a ―violent crime‖ under the ACCA‘s residual clause. Johnson, 135 S.Ct. at
2555-2557.


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over these statutory differences between the ACCA‘s residual clause in §924(e)(2)(B)(ii) and

§924(c)(3)(B), and that because of these differences, Johnson does not apply to §924(c)(3)(B).

The Court finds these distinctions to be sufficient to limit Johnson’s holding to the ACCA‘s

residual provision only.

        1.      The enumerated offenses in the ACCA are absent.

        The structure of §924(c)(3)(B) differs from the ACCA because it does not contain an

introductory list of enumerated crimes. The ACCA‘s residual clause, §924(e)(2)(B)(ii) lists as

examples of ―violent felonies‖: burglary, arson, or extortion, involves use of explosives, or

otherwise involves conduct that presents a serious potential risk of physical injury to another.‖

The Government contends that the presence of that list was a determinative factor in Johnson’s

holding because the enumerated list had troubled members of the Court since James. See, e.g.,

James, 550 U.S. at 215-16, 230 n.7 (Scalia, J., joined by Stevens and Ginsburg, J.J., dissenting)

(stating that comparing a predicate offense with its closest analog among enumerated offenses is

an unhelpful test if the analog is not obvious because the listed offenses have little in common);

Begay v. U.S., 553 U.S. 137, 143 (2008) (―. . . the examples are so far from clear in respect to the

degree of risk each poses . . .‖).

        2.      Extra-Offense Conduct

        Another distinction between the two provisions is that §924(c)(3)(B) does not go beyond

the elements of the offense to consider potential extra-offense conduct, as does the ACCA

provision. Johnson noted as much in respect to the ACCA provision, describing the necessity of

courts to go ―beyond evaluating the chances that the physical acts that make up the crime injure

someone‖ and to evaluate the risk for injury even ―after‖ completion of the offense. 135 S.Ct. at

2557; see also id. at 2559 (noting that ―remote‖ physical injury could qualify under ACCA, but



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that the clause does not indicate ―how remote is too remote‖). Johnson explained that ACCA‘s

inquiry into whether a crime ―involves conduct‖ that presents too much risk of injury goes

beyond the offense elements. Id. at 2557.

       In comparison, §924(c)(3)(B) requires no such consideration of post-offense conduct. Its

language is significantly narrower. The assessment that must be done is confined to the risks

that arise during the commission of the offense, that is, a consideration of the use of physical

force that occurs ―in the course of committing the offense.‖ United States v. Serafin, 562 F.3d

1105, 1109 (10th Cir. 2009) (emphasizing ―the textual difference between § 16(b) and‖ the

ACCA residual clause, and explaining that ―for an offense to qualify as a § 16(b) crime of

violence, the risk of force must arise in the course of committing the crime and not merely as a

possible result”) (emphasis added). Unlike the ACCA, § 924(c)(3)(B) does not go beyond ―the

physical acts that make up the crime.‖ See Johnson, 135 S. Ct. 2557.

       Also, as mentioned earlier, §924(c)(3)(B) looks at the risk of the ―use of force‖ rather

than the much broader ―risk of injury.‖ The Court does not share Defendant‘s view that this

difference in focus is immaterial in due process inquiry. Interpretation of statutory language can

turn on a word. See, e.g., U. S. v. Ron Pair Enterprises, Inc., 489 U.S. 235, 240-41 (1989) (as

long as the statutory scheme is coherent and consistent, there generally is no need for a court to

inquire beyond the plain language of the statute). The difference in focus on the use of force

during an offense (in §924(c)(3)(B), rather than on the potential risk and effects of the offense (as

in §924(e)(2)(B)(ii)), does limit the statute‘s reach and avoids the kind of speculation about

extra-offense conduct (and as a result, constitutional vagueness) that Johnson rejected. 135 S.Ct.

at 2557, 2559; Serafin, 562 F.3d at 1109 (emphasizing textual differences in provisions).

       3.      Repeated Failure to Construe ACCA provision



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       In Johnson, the Supreme Court expressed a concern regarding a lack of a ―principled and

objective standard‖ in interpreting the ACCA‘s residual clause (that is, until Johnson). See 135

S.Ct. at 2558 (―. . . this Court's repeated attempts and repeated failures to craft a principled and

objective standard out of the residual clause confirm its hopeless indeterminacy‖); id. at 2287

(Scalia, J., dissenting) (stating that the Court‘s repeated failure in addressing the ACCA is

―[w]hat sets ACCA apart‖ and ―confirms‖ its vagueness). Johnson further observed the same

disagreement among the lower courts:

       The most telling feature of the lower courts' decisions is not division about
       whether the residual clause covers this or that crime (even clear laws produce
       close cases); it is, rather, pervasive disagreement about the nature of the inquiry
       one is supposed to conduct and the kinds of factors one is supposed to consider.

135 S.Ct. at 2560. Section 924(c)(3)(B) has not suffered the same fretful history, indicating that

the same difficulty has not existed in construing this provision. In Leocal v. Ashcroft, 543 U.S. 1

(2004), a unanimous Supreme Court expressed no uncertainty or difficulty in adopting an

interpretive framework that identified one offense (burglary) as the ―classic example‖ of a §16(b)

qualifying offense, and another example (DUI) that was not a qualifying offense. 543 U.S. at 10.

Thus, §924(c)(3)(B) has not faced the same difficulties in allowing an evenhanded application or

analysis, and is yet another reason why a finding of vagueness for the ACCA cannot be

summarily applied to §924(c)(3)(B).

                                          CONCLUSION

       In sum, the Court finds and concludes that, the offense of ―robbery‖ set forth as the

predicate felony offense in Count 4 qualifies as a ―crime of violence‖ within the meaning of 18

U.S.C. § 924(c)(3)(A).

       The Court further finds and concludes that Defendant seeks an overly broad application

of the holding of Johnson v. United States, _ U.S. __, 135 S. Ct. 2551 (2015). That holding is

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limited to the provision addressed in that decision, which is the ―residual clause‖ of the Armed

Career Criminal Act, and that the analysis in Johnson does not apply to §924(c)(3)(B) which

defines a ―crime of violence‖ because of the distinctions between the two provisions.7

        THEREFORE,

        IT IS ORDERED that Defendant‘s Motion to Dismiss Count 4 of Second Superseding

Indictment (Doc. 368) is hereby DENIED for reasons described in this Memorandum Opinion

and Order.



                                                              ________________________________
                                                              UNITED STATES DISTRICT JUDGE




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   In light of the foregoing findings, the Court need not consider the Government‘s other arguments, which pertain
to the appropriateness of the instant motion under Fed.R.Crim.P.12(b) and to whether a factual development is
necessary prior to consider Defendant‘s vagueness challenge to §924(c)(3)(B).

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